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                                                                            FILED
                                                                United States Court of Appeals
                                        PUBLISH                         Tenth Circuit

                         UNITED STATES COURT OF APPEALS              February 9, 2018

                                                                    Elisabeth A. Shumaker
                               FOR THE TENTH CIRCUIT                    Clerk of Court
                           _________________________________

   ALEJANDRO MENOCAL, MARCOS
   BRAMBILA, GRISEL XAHUENTITLA,
   HUGO HERNANDEZ, LOURDES
   ARGUETA, JESUS GAYTAN, OLGA
   ALEXAKLINA, DAGOBERTO
   VIZGUERRA, and DEMETRIO
   VALEGRA, on their own behalf and on
   behalf of all others similarly situated,

         Plaintiffs - Appellees,

   v.                                                     No. 17-1125

   THE GEO GROUP, INC.,

         Defendant - Appellant,

   and

   NATIONAL ADVOCACY CENTER OF
   THE SISTERS OF THE GOOD
   SHEPHERD; NATIONAL
   EMPLOYMENT LAW PROJECT;
   NATIONAL GUESTWORKER
   ALLIANCE; NATIONAL IMMIGRANT
   JUSTICE CENTER; NATIONAL
   IMMIGRATION LAW CENTER;
   PANGEA LEGAL SERVICES; PUBLIC
   CITIZEN; SANCTUARY FOR
   FAMILIES; SOUTHERN POVERTY
   LAW CENTER; AMERICAN
   IMMIGRANTS FOR JUSTICE; ASIAN
   AMERICANS ADVANCING JUSTICE;
   DETENTION WATCH NETWORK;
   HUMAN RIGHTS DEFENSE CENTER;
   ILLINOIS COALITION FOR
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   IMMIGRANT AND REFUGEE RIGHTS;
   JUSTICE STRATEGIES; LEGAL AID
   AT WORK; HUMAN TRAFFICKING
   PRO BONO LEGAL CENTER; TAHIRIH
   JUSTICE CENTER; ASISTA
   IMMIGRATION ASSISTANCE;
   FREEDOM NETWORK USA,
         Amici Curiae.


                           _________________________________

                       Appeal from the United States District Court
                               for the District of Colorado
                             (D.C. No. 1:14-CV-02887-JLK)
                         _________________________________

   Mark Emery, Norton Rose Fulbright US LLP, Washington, D.C. (Charles A. Deacon
   Norton Rose Fulbright US LLP, San Antonio, Texas; and Dana Eismeier, Burns, Figa &
   Will, Greenwood Village, Colorado, with him on the brief), for Defendant-Appellant.

   David Lopez, Outten & Golden LLP, Washington, D.C. (Juno Turner and Elizabeth V.
   Stork, Outten & Golden LLP, New York, New York; R. Andrew Free, Law Office of R.
   Andrew Free, Nashville, Tennessee; Alexander Hood, David Seligman, and Andrew
   Schmidt, Towards Justice, Denver, Colorado; Brandt Milstein, Milstein Law Office,
   Boulder, Colorado; Andrew H. Turner, The Kelman Beuscher Firm, Denver, Colorado;
   and Hans Meyer, Meyer Law Office, P.C., Denver, Colorado, with him on the brief), for
   Plaintiffs-Appellees.

   Scott D. McCoy and Shalini Agarwal, Southern Poverty Law Center, Tallahassee,
   Florida, Alia Al-Khatib, Southern Poverty Law Center, Miami, Florida, and Lisa
   Graybill, Southern Poverty Law Center, New Orleans, Louisiana, filed a brief for the
   Southern Poverty Law Center as Amicus Curiae, in support of Appellees.

   Adina H. Rosenbaum and Scott L. Nelson, Public Citizen Litigation Group, Washington,
   D.C., filed a brief for Public Citizen, Inc., and The National Employment Law Project, as
   Amici Curiae, in support of Appellees.

   Katherine E. Melloy Goettel, Mark Fleming, Claudia Valenzuela, and Keren Zwick,
   National Immigration Justice Center, Chicago, Illinois, filed a brief for National
   Immigrant Justice Center, et al., as Amici Curiae, in support of Appellees.




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   Andrew C. Lillie, Nathaniel H. Nesbitt, and Ann C. Stanton, Hogan Lovells US LLP,
   Denver, Colorado, filed a brief for Human Trafficking Pro Bono Legal Center, Tahirih
   Justice Center, Asista Immigration Assistance, Freedom Network USA, and Sancuary for
   Families, as Amici Curiae, in support of Appellees.
                            _________________________________

   Before MATHESON, BACHARACH, and McHUGH, Circuit Judges.
                     _________________________________

   MATHESON, Circuit Judge.
                      _________________________________

          This appeal addresses whether immigration detainees housed in a private contract

   detention facility in Aurora, Colorado (the “Aurora Facility”) may bring claims as a class

   under (1) 18 U.S.C. § 1589, a provision of the Trafficking Victims Protection Act (the

   “TVPA”) that prohibits forced labor; and (2) Colorado unjust enrichment law.

          The GEO Group, Inc. (“GEO”) owns and operates the Aurora Facility under

   government contract. While there, the plaintiff detainees (the “Appellees”) rendered

   mandatory and voluntary services to GEO. Under GEO’s mandatory policies, they

   cleaned their housing units’ common areas. They also performed various jobs through a

   voluntary work program, which paid them $1 a day.

          The district court certified two separate classes: (1) all detainees housed at the

   Aurora Facility in the past ten years (the “TVPA class”), and (2) all detainees who

   participated in the Aurora Facility’s voluntary work program in the past three years (the

   “unjust enrichment class”).

          On interlocutory appeal, GEO argues that the district court abused its discretion in

   certifying each class under Rule 23(b)(3) of the Federal Rules of Civil Procedure. It

   primarily contends that the Appellees’ TVPA and Colorado unjust enrichment claims


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   both require predominantly individualized determinations, making class treatment

   inappropriate. Exercising jurisdiction under 28 U.S.C. § 1292, we affirm.

                                      I. BACKGROUND

                                       A. Factual History

          At all times relevant to this appeal, GEO owned and operated the Aurora Facility

   under contract with the U.S. Immigration and Customs Enforcement (“ICE”). In

   operating this facility, GEO implemented two programs that form the basis for this case:

   (1) the Housing Unit Sanitation Policy, which required all detainees to clean their

   common living areas; and (2) the Voluntary Work Program, which compensated

   detainees $1 a day for performing various jobs.

   1. Housing Unit Sanitation Policy (“Sanitation Policy”)

          The Aurora Facility’s Sanitation Policy had two components: (1) a mandatory

   housing unit sanitation program, and (2) a general disciplinary system for detainees who

   engaged in “prohibited acts,” including refusal to participate in the housing unit

   sanitation program.

          Under the mandatory housing unit sanitation program, GEO staff generated daily

   lists of detainees from each housing unit who were assigned to clean common areas after

   meal service. Upon arriving at the Aurora Facility, every detainee received a handbook

   (the “Aurora Facility Supplement”) notifying them of their obligation to participate in

   this program. Dawn Ceja, the Aurora Facility’s Assistant Warden for Operations,

   confirmed at her deposition that “all of the detainees will have a turn on [the common

   area cleaning assignments].” App., Vol. II at 483.


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          Under the disciplinary system, detainees who refused to perform their cleaning

   assignments faced a range of possible sanctions, including: (1) the initiation of criminal

   proceedings, (2) disciplinary segregation—or solitary confinement—up to 72 hours, (3)

   loss of commissary, (4) loss of job, (5) restriction to housing unit, (6) reprimand, or (7)

   warning. The Aurora Facility Supplement included an explanation of the disciplinary

   system and the possible sanctions for refusing to clean.

          The Appellees alleged that the TVPA class members were all “forced . . . to clean

   the [housing units] for no pay and under threat of solitary confinement as punishment for

   any refusal to work.” App., Vol. I at 19. Five of the nine named plaintiffs and three

   other detainees filed declarations further explaining that they had fulfilled their cleaning

   assignments because of the Sanitation Policy’s threat of solitary confinement.

   2. Voluntary Work Program (“VWP”)

          Under the Aurora Facility’s VWP, participating detainees received $1 a day in

   compensation for voluntarily performing jobs such as painting, food services, laundry

   services, barbershop, and sanitation. Detainees who wished to participate in the VWP

   had to sign the “Detainee Voluntary Work Program Agreement,” which specified that

   “[c]ompensation shall be $1.00 per day.” App., Vol. V at 779. The Aurora Facility

   Supplement also specified that detainees would “be paid $1.00 per day worked (not per

   work assignment)” under the VWP. App., Vol. V at 761. Detainees had the additional

   option of working without pay if no paid positions were available.

          The complaint alleged that the VWP class members were all “paid . . . one dollar

   ($1) per day for their [VWP] labor.” App., Vol. I at 19. Five of the nine named plaintiffs


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   and three other detainees who had participated in the VWP filed declarations further

   describing their work. Their jobs had included serving food, cleaning the facilities, doing

   laundry, and stripping and waxing floors. Their hours had ranged from two to eight

   hours a day, and they had all received $1 a day in compensation.

                                    B. Procedural History

          The Appellees filed a class action complaint against GEO in the U.S. District

   Court for the District of Colorado on behalf of current and former ICE detainees housed

   at the Aurora Facility. The complaint alleged: (1) a TVPA forced labor claim based on

   the Sanitation Policy, and (2) an unjust enrichment claim under Colorado law based on

   the VWP.1

   1. GEO’s Motion to Dismiss

          GEO moved to dismiss the complaint under Rule 12(b)(6) of the Federal Rules of

   Civil Procedure for failure to state a claim. Regarding the TVPA claim, GEO argued that

   the Thirteenth Amendment’s civic duty exception to the prohibition on involuntary

   servitude should also apply to the TVPA’s ban on forced labor.2 It further contended that

   such an exception would extend to government contractors in addition to the federal

   government. Regarding the unjust enrichment claim, GEO asserted sovereign immunity

          1
          The complaint brought a third claim under the Colorado Minimum Wages of
   Workers Act, but the district court dismissed this claim, and it is not at issue here.
          2
           GEO cited the Fifth Circuit’s decision in Channer v. Hall, 112 F.3d 214 (5th Cir.
   1997), which relied in part on the “judicially-created exception[]” to the Thirteenth
   Amendment to hold that “the federal government is entitled to require a communal
   contribution by an [immigration] detainee in the form of housekeeping tasks.” Id. at 218-
   19.


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   as a government contractor because ICE “specifically directed [it] to . . . establish a

   voluntary detainee work program, and pay the detainees who volunteer for that program

   $1.00 per day.” App., Vol. I at 198-99.

          The district court rejected these arguments and denied GEO’s motion to dismiss

   the TVPA and unjust enrichment claims. See Menocal v. GEO Grp., Inc., 113 F. Supp.

   3d 1125 (D. Colo. 2015). GEO moved for reconsideration of the court’s rulings. The

   court denied the motion, finding that GEO “d[id] not identify any intervening change in

   controlling law or new evidence previously unavailable” to warrant reconsideration.

   Menocal v. GEO Grp., Inc., No. 14-cv-02887-JLK, 2015 WL 13614120, at *1 (D. Colo.

   Aug. 26, 2015).

          GEO then moved for an order certifying an interlocutory appeal from the orders

   denying its motion to dismiss and its motion for reconsideration. It requested that the

   district court certify the following questions for interlocutory appeal:

          (1) Whether civil detainees lawfully held in the custody of a private
              detention facility under the authority of the United States can state a
              claim for “forced labor” under the TVPA, 18 U.S.C. § 1589, for
              allegedly being required to perform housekeeping duties.

          (2) Whether, under Colorado law, civil detainees may state a claim for
              unjust enrichment based on work performed pursuant to the Voluntary
              Work Program, absent any alleged reasonable expectation of being
              paid more than $1 per day.

          (3) Whether a state law claim for unjust enrichment brought by civil
              detainees against a federal contractor is barred by the “government
              contractor” defense, where such claims would require that detainees
              receive additional compensation even though the contract expressly
              requires that compensation of more than $1 per day be approved by the
              government’s contracting officer.



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   App., Vol. II at 346. The district court denied GEO’s motion to certify an interlocutory

   appeal on all three of these questions. Accordingly, the district court’s rulings on these

   questions are not properly before us in this appeal. See 28 U.S.C. § 1292(b) (providing

   that a court of appeals may only permit an interlocutory appeal to be taken from most

   non-final decisions if the district judge first certifies the interlocutory appeal).

   2. The Appellees’ Motion for Class Certification

          After they prevailed on the motion to dismiss, the Appellees moved for

   certification of a separate class for each claim under Rules 23(a) and (b)(3) of the Federal

   Rules of Civil Procedure. For the TVPA claim, the Appellees proposed a class of “all

   persons detained in [GEO’s] Aurora Detention Facility in the ten years prior to the filing

   of this action” (the “TVPA class”). App., Vol. II at 409. For the unjust enrichment

   claim, they proposed a class of “all people who performed work [for the] Aurora

   Detention Facility under [GEO’s] VWP Policy in the three years prior to the filing of this

   action” (the “unjust enrichment class”). Id. at 418.

          GEO opposed the certification of both proposed classes. It argued that neither

   class adequately satisfied the Rule 23 requirements. The district court rejected GEO’s

   arguments and certified both classes as proposed by the Appellees. See Menocal v. GEO

   Grp., Inc., 320 F.R.D. 258 (D. Colo. 2017). It also approved the nine named plaintiffs as

   the representatives of both classes. Id. at 271.

          GEO petitioned this court for interlocutory review of the class certifications. We

   granted GEO’s petition for permission to appeal under Rule 23(f). See Fed. R. Civ. Pro.

   23(f) (“A court of appeals may permit an appeal from an order granting or denying class-


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   action certification . . . .”); 28 U.S.C § 1292(e) (authorizing the Supreme Court to

   “prescribe rules . . . provid[ing] for an appeal of an interlocutory decision to the courts of

   appeals that is not otherwise provided for” by statute). Accordingly, only the district

   court’s order granting class certification—and not its rulings on whether the complaint

   stated TVPA and unjust enrichment claims—is before us.

                                        II. DISCUSSION

          We begin with our standard of review. We then provide an overview of the Rule

   23 class certification requirements relevant to this appeal, and additional background on

   the TVPA and Colorado unjust enrichment law as needed. We consider the TVPA and

   the unjust enrichment classes in turn, and conclude that the district court did not abuse its

   discretion in certifying each class under Rule 23.

                                      A. Standard of Review

          “We review the district court’s decision to certify [a] class for an abuse of

   discretion. The district court abuses its discretion when it misapplies the Rule 23

   factors—either through a clearly erroneous finding of fact or an erroneous conclusion of

   law—in deciding whether class certification is appropriate. Our review is only de novo

   to the extent we must determine whether the district court applied the correct standard. In

   the end, as long as the district court applies the proper Rule 23 standard, we will defer to

   its class certification ruling provided that decision falls within the bounds of rationally

   available choices given the facts and law involved in the matter at hand.” Soseeah v.

   Sentry Ins., 808 F.3d 800, 808 (10th Cir. 2015) (citations and quotations omitted).




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                               B. Class Certification Requirements

           Rule 23 of the Federal Rules of Civil Procedure provides the class certification

    requirements. Wal–Mart Stores, Inc. v. Dukes, 564 U.S. 338, 345 (2011). Plaintiffs

    seeking class certification must show that the underlying case (1) satisfies each of Rule

    23(a)’s prerequisites, and (2) falls under at least one of Rule 23(b)’s categories of class

    actions. See Soseeah, 808 F.3d at 808. The district court must undertake a “rigorous

    analysis” to satisfy itself that a putative class meets the applicable Rule 23 requirements.

    CGC Holding Co. v. Broad & Cassel, 773 F.3d 1076, 1086 (10th Cir. 2014) (quotations

    omitted).

           Rule 23(a) sets forth four threshold requirements:

           (1) the class is so numerous that joinder of all members is impracticable;

           (2) there are questions of law or fact common to the class;

           (3) the claims or defenses of the representative parties are typical of the
               claims or defenses of the class; and

           (4) the representative parties will fairly and adequately protect the interests
               of the class.

    Fed. R. Civ. P. 23(a). Only requirements (2) (the “commonality” requirement) and (3)

    (the “typicality” requirement) are contested in this appeal.

           Of the class action categories set forth in Rule 23(b), only the Rule 23(b)(3) class

    action is at issue here. A Rule 23(b)(3) class action must satisfy two additional

    requirements: (1) the “questions of law or fact common to class members [must]

    predominate over any questions affecting only individual members” (the “predominance”

    requirement), and (2) a class action must be “superior to other available methods for


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    fairly and efficiently adjudicating the controversy” (the “superiority” requirement). Fed.

    R. Civ. P. 23(b)(3).

              We provide additional background on each of the Rule 23 requirements contested

    in this appeal: commonality, typicality, predominance, and superiority.

    1. Rule 23(a)’s Threshold Requirements: Commonality and Typicality

              a. Commonality

              To satisfy the commonality requirement, a party seeking class certification must

    demonstrate “there are questions of law or fact common to the class.” Fed. R. Civ. P.

    23(a)(2). In other words, the class members’ claims must “depend upon a common

    contention . . . of such a nature that it is capable of classwide resolution—which means

    that determination of its truth or falsity will resolve an issue that is central to the validity

    of each one of the claims in one stroke.” Wal-Mart, 564 U.S. at 350. In the context of

    class-wide proof by statistical evidence, the Supreme Court has instructed that a question

    is common if there is “some glue holding the [class members’ allegations] together.” Id.

    at 352.

              “A finding of commonality requires only a single question of law or fact common

    to the entire class.” DG ex rel. Stricklin v. Devaughn, 594 F.3d 1188, 1195 (10th Cir.

    2010); see also Wal-Mart, 564 U.S. at 359 (“We quite agree that for purposes for Rule

    23(a)(2) even a single common question will do.” (brackets and quotations omitted)).

              b. Typicality

              To satisfy the typicality requirement, a party seeking class certification must

    demonstrate that “the claims or defenses of the representative parties are typical of the


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    claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “[D]iffering fact situations of

    class members do not defeat typicality . . . so long as the claims of the class

    representative and class members are based on the same legal or remedial theory.” Colo.

    Cross-Disability Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1216 (10th Cir.

    2014) (quotations omitted).

    2. Rule 23(b)(3)’s Additional Requirements: Predominance and Superiority

           a. Predominance

           “The Rule 23(b)(3) predominance inquiry tests whether proposed classes are

    sufficiently cohesive to warrant adjudication by representation.” Amchem Prods., Inc. v.

    Windsor, 521 U.S. 591, 623 (1997). “It is not necessary that all of the elements of the

    claim entail questions of fact and law that are common to the class, nor that the answers

    to those common questions be dispositive.” CGC Holding, 773 F.3d at 1087. “Put

    differently, the predominance prong asks whether the common, aggregation-enabling,

    issues in the case are more prevalent or important than the non-common, aggregation-

    defeating, individual issues.” Id. (quotations omitted).

           In reviewing the district court’s predominance determination, we must

    “characterize the issues in the case as common or not, and then weigh which issues

    predominate.” Id. We do so by “consider[ing] . . . how the class intends to answer

    factual and legal questions to prove its claim—and the extent to which the evidence

    needed to do so is common or individual.” Id. And because we must thus consider the

    class’s underlying cause of action and determine which elements are amenable to

    common proof, “it is impractical to construct an impermeable wall that will prevent the


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    merits from bleeding into the class certification decision to some degree.” Id. (quotations

    omitted). But “[f]or the purposes of class certification, our primary function is to ensure

    that the requirements of Rule 23 are satisfied, not to make a determination on the merits

    of the putative class’s claims.” Id.

           b. Superiority

           A putative class proceeding under Rule 23(b)(3) must show that a class action

    would be “superior to other available methods for fairly and efficiently adjudicating the

    controversy.” Fed. R. Civ. P. 23(b)(3). Rule 23(b)(3) includes a non-exhaustive list of

    factors pertinent to the superiority analysis:

           (A) the class members’ interests in individually controlling the prosecution
               or defense of separate actions;

           (B) the extent and nature of any litigation concerning the controversy
               already begun by or against class members;

           (C) the desirability or undesirability of concentrating the litigation of the
               claims in the particular forum; and

           (D) the likely difficulties in managing a class action.

    Fed. R. Civ. P. 23(b)(3); Fed. R. Civ. P. 23(b) advisory committee’s note to the 1966

    amendment.3

           Courts and commentators have observed that the Rule 23(b)(3) class action is

    superior when it allows for the “vindication of the rights of groups of people who


           3
             Although Rule 23(b)(3) states that these factors are pertinent to both superiority
    and predominance, “most courts analyze [these factors] solely in determining whether a
    class suit will be a superior method of litigation.” 2 William B. Rubenstein, Newberg on
    Class Actions § 4:64 (5th ed., Dec. 2017 update).


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    individually would be without effective strength to bring their opponents into court at

    all.” See Amchem, 521 U.S. at 617 (quotations omitted); see also Just Film, Inc. v.

    Buono, 847 F.3d 1108, 1123 (9th Cir. 2017) (crediting unlikelihood that class members

    would individually pursue their claims due to risks, small recovery, and costs of litigation

    as the consideration “at the heart” of the superiority analysis). For this reason, “the class

    action device is especially pertinent to vulnerable populations.” 2 William B.

    Rubenstein, Newberg on Class Actions § 4:65 (5th ed., Dec. 2017 update) (Newberg).

    Considerations such as class members’ limited understanding of the law, limited English

    skills, or geographic dispersal therefore weigh in favor of class certification. See id.4

                                        C. The TVPA Class

           We affirm the district court’s certification of the TVPA class. We first provide

    background on the TVPA. We then analyze whether the district court abused its

    discretion in applying the Rule 23 requirements to certify the TVPA class. In reviewing

    the class certification decision, “our primary function is to ensure that the requirements of

    Rule 23 are satisfied, not to make a determination on the merits of the putative class’s

    claims.” CGC Holding, 773 F.3d at 1087.




           4
             See, e.g., Silva-Arriaga v. Texas Express, Inc., 222 F.R.D. 684, 691 (M.D. Fla.
    2004) (citing class members’ “limited English skills and . . . understanding of the legal
    system” in support of superiority finding); In re Monster Worldwide, Inc. Securities
    Litig., 251 F.R.D. 132, 139 (S.D.N.Y. 2008) (finding superiority based in part on class
    members’ geographic dispersal).


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    1. TVPA’s Forced Labor Provision—18 U.S.C. § 1589

           The TVPA establishes a civil cause of action for victims of prohibited trafficking

    activity. 18 U.S.C. § 1595. As relevant to this appeal, the TVPA’s forced labor

    provision prohibits persons from:

           knowingly provid[ing] or obtain[ing] the labor or services of a person by
           any one of, or by any combination of, the following means—

              (1) by means of force, threats of force, physical restraint, or threats of
                  physical restraint to that person or another person;

              (2) by means of serious harm or threats of serious harm to that person
                  or another person;

              (3) by means of the abuse or threatened abuse of law or legal process; or

              (4) by means of any scheme, plan, or pattern intended to cause the
                  person to believe that, if that person did not perform such labor or
                  services, that person or another person would suffer serious harm or
                  physical restraint[.]

    Id. § 1589(a) (emphases added). The term “serious harm” denotes “any harm, whether

    physical or nonphysical, including psychological, financial, or reputational harm, that is

    sufficiently serious, under all the surrounding circumstances, to compel a reasonable

    person of the same background and in the same circumstances to [render labor] . . . to

    avoid incurring that harm.” Id. § 1589(c)(2).

    2. Application of Rule 23 Requirements

           GEO contends that the district court abused its discretion in determining that the

    TVPA class satisfies commonality, typicality, predominance, and superiority. The

    parties’ arguments—both in their briefs and at oral argument—focus primarily on

    predominance, the closest issue. We address predominance last, after commonality,


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    typicality, and superiority. The court did not abuse its discretion as to any of these

    requirements in certifying the TVPA class.

           a. Commonality

           The TVPA class meets Rule 23(a)’s commonality requirement. The district court

    identified “a number of crucial questions with common answers.” Menocal, 320 F.R.D.

    at 264. These questions include: (1) whether the Sanitation Policy “constitutes improper

    means of coercion” under § 1589, (2) whether GEO “knowingly obtain[s] detainees’

    labor using [the Sanitation Policy]”, and (3) whether a civic duty exception exempts the

    Sanitation Policy from § 1589. Id. at 264-65. Because all members of the TVPA class

    base their claims on the Sanitation Policy, we agree with the district court that the

    answers to these questions would “resolve an issue that is central to the validity of each

    one of the claims in one stroke.” Wal-Mart, 564 U.S. at 350. Indeed, any one of these

    questions alone would satisfy the commonality requirement for the TVPA class. See id.

    at 359; Stricklin, 594 F.3d at 1195. The district court therefore did not abuse its

    discretion in applying the Rule 23(a) commonality requirement to the TVPA class.

           b. Typicality

           The TVPA class satisfies Rule 23(a)’s typicality requirement. Typicality requires

    only that “the claims of the class representative and class members are based on the same

    legal or remedial theory.” Colo. Cross-Disability, 765 F.3d at 1216 (quotations omitted).

    Here, the claims of all the class members—including the representatives—share the same

    theory: that GEO knowingly obtained class members’ labor by means of the Sanitation

    Policy, which threatened—or was intended to cause them to believe they would suffer—


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    serious harm or physical restraint if they did not fulfill their cleaning assignments. The

    class representatives allege that they—just like all other Aurora Facility detainees in the

    relevant period—performed “mandatory, uncompensated work . . . under [GEO’s]

    Housing Unit Sanitation policy.” App., Vol. I at 26; see App., Vol. II at 483 (Assistant

    Warden Ceja confirming that “all of the detainees . . . have a turn on [the cleaning

    assignments]”). And the class representatives’ declarations present no circumstances that

    would give rise to a different theory of liability.5 The district court therefore did not

    abuse its discretion in applying the Rule 23(a) typicality requirement to the TVPA class.

           c. Superiority

           The TVPA class meets the Rule 23(b)(3) superiority requirement. The TVPA

    class members would have to overcome significant hurdles to adjudicate their individual

    claims and thus have little “interest[] in individually controlling the prosecution or

    defense of separate actions.” See Fed. R. Civ. P. 23(b)(3). As the district court noted—

    and GEO does not dispute—“the putative class members reside in countries around the

    world, lack English proficiency, and have little knowledge of the legal system in the

    United States.” Menocal, 320 F.R.D. at 268. Based on these considerations, the court


           5
              The only factual differences among the class representatives’ experiences pertain
    to their specific interactions with Aurora Facility guards and whether they witnessed
    firsthand other individual detainees being sanctioned or threatened with solitary
    confinement for refusal to clean. But these factual differences do not defeat typicality
    because the class members’ legal theory—that GEO knowingly obtained their labor
    through the uniform Sanitation Policy—does not change based on their personal
    interactions with GEO staff or their knowledge of specific instances in which GEO
    threatened or carried out the threat of solitary confinement. See Colo. Cross-Disability,
    765 F.3d at 1216.


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    did not abuse its discretion in applying Rule 23(b)(3)’s superiority requirement to the

    TVPA class. See Newberg § 4:65 (identifying these considerations as factors in favor of

    class certification); see also Amchem, 521 U.S. at 617 (explaining that Rule 23(b)(3)

    classes seek to “vindicat[e] . . . the rights of groups of people who individually would be

    without effective strength to bring their opponents into court at all” (quotations

    omitted)).6

           d. Predominance

           Although Rule 23(b)(3)’s predominance requirement “regularly presents the

    greatest obstacle to class certification,” CGC Holding, 773 F.3d at 1087, it does not

    defeat the TVPA class in this case. To determine whether the district court abused its

    discretion in applying the predominance requirement, we first “characterize the issues in

    the case as common or not, and then weigh which issues predominate.” See id. GEO

    contends that two of the TVPA class’s issues are not susceptible to generalized proof: (i)

    the causation element, and (ii) damages. But as the following analysis shows, (i) the

    causation element is susceptible to generalized proof and thus cannot defeat class

    certification, and (ii) individual damages assessments would not predominate over the

    class’s common issues.



           6
             GEO also suggests that the class should instead seek to have the ICE standards
    relating to the Sanitation Policy “changed by the agency, declared invalid, or enjoined,”
    Aplt. Br. at 45. But such actions, even if feasible, would not provide damages relief and
    thus are not “superior . . . available methods for fairly and efficiently adjudicating the
    controversy,” especially for former detainees in the TVPA class. See Fed. R. Civ. P.
    23(b)(3).


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                  i. The causation element

           The causation element is susceptible to generalized proof and thus cannot defeat

    class certification under Rule 23(b)(3)’s predominance requirement. As discussed above,

    the TVPA’s forced labor provision prohibits the knowing procurement of labor “by

    means of” the use or threat of—or a scheme intended to threaten—serious harm or

    physical restraint. See 18 U.S.C. § 1589(a)(1)-(4). Although the statute does not use the

    word “cause,” to show a § 1589 violation, plaintiffs must prove that an unlawful means

    of coercion caused them to render labor. See United States v. Kalu, 791 F.3d 1194, 1211-

    12 (10th Cir. 2015) (affirming a jury instruction on § 1589 that advised the jury to

    consider whether “as a result of [the defendant’s] use of . . . unlawful means, the [victim

    rendered labor] where, if [the defendant] had not resorted to those unlawful means, the

    [victim] would have declined to” (quotations omitted)).

           The parties dispute whether a plaintiff may use a reasonable person standard to

    make this causation showing. The TVPA class contends that a plaintiff need only show

    that the unlawful means—here, the Sanitation Policy—would have caused a reasonable

    person to render the labor.7 In contrast, GEO argues that a plaintiff must show that the

    unlawful means in fact caused the labor. But we need not decide which of these

    standards applies to § 1589’s causation requirement in resolving the class certification


           7
              For purposes of deciding the class certification question, we do not address the
    merits of whether the Sanitation Policy qualifies as an unlawful means of coercion under
    § 1589. GEO does not dispute—and neither do we—the district court’s determination
    that this question can be answered on a class-wide basis. See Menocal, 320 F.R.D. at 264
    & n.2.


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    question. Even assuming GEO’s proposed standard applies, the causation element is

    susceptible to class-wide proof and thus does not preclude the TVPA class from

    satisfying the predominance requirement.

           This analysis proceeds in three parts. First, in CGC Holding, this court held—at

    least in the fraud context—that plaintiffs may prove causation by class-wide inference.

    Second, CGC Holding applies to the circumstances of this case. Third, the mere

    speculative possibility that a class-wide inference would not apply to some TVPA class

    members does not make causation insusceptible to class-wide proof.

                         1) CGC Holding: Class-wide proof of causation from common
                            circumstantial evidence

           In CGC Holding, this court recognized that plaintiffs may prove class-wide

    causation based on inference from common circumstantial evidence. 773 F.3d at 1092-

    93. In that case, a putative class of borrowers brought a civil RICO claim8 against the

    defendants, a group of lenders. Id. at 1080. The plaintiffs alleged that the defendants

    had fraudulently induced them to pay upfront fees for loans that the defendants never

    actually had the intent or ability to fund. Id. The putative class consisted of “at least 100

    borrowers . . . who paid advance fees to defendants.” Id. at 1084. We determined that


           8
            The Racketeer Influenced and Corrupt Organizations Act (“RICO”) prohibits
    various activities performed in connection with an ongoing criminal organization. See 18
    U.S.C. §§ 1961-68. In addition to enacting criminal penalties for racketeering activities,
    RICO also created a private cause of action for “[a]ny person injured in his business or
    property by reason of” the defendant’s RICO violations. Id. § 1964(c) (emphasis added).
    A plaintiff bringing a civil RICO claim must show causation. CGC Holding, 773 F.3d at
    1088. In civil RICO claims arising from fraud, reliance “frequently serves as a proxy for
    both legal and factual causation.” Id.


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    “the fact that a class member paid the nonrefundable up-front fee in exchange for the loan

    commitment constitutes circumstantial proof of reliance on the misrepresentations and

    omissions regarding . . . the defendant entities’ ability or intent to actually fund the

    promised loan.” Id. at 1091-92 (emphasis added).

           Because we would allow an individual plaintiff to establish an inference of

    reliance from this type of circumstantial proof, we saw “no reason why a putative class

    containing plaintiffs, who all paid substantial up-front fees in return for financial

    promises, should not be entitled to posit the same inference to a factfinder on a classwide

    basis.” Id. at 1092. By allowing such an inference, the issue of reliance “becomes

    solvable with a uniform piece of circumstantial evidence [i.e., the payment of the up-front

    fee].” Id. We therefore held that “the putative class is not stymied, for purposes of class

    certification, under Rule 23(b)’s predominance element.” Id.

                          2) Application of CGC Holding’s class-wide circumstantial
                             evidence analysis to this case

           CGC Holding said that, when a class member could individually establish

    causation based on circumstantial evidence, a court may likewise allow a class to rely on

    circumstantial evidence that the class shares to establish causation on a class-wide basis.

    CGC Holding’s reasoning applies with equal force to the facts of this case because (1) a

    court could permit an individual TVPA class member to establish causation through

    circumstantial evidence, and (2) the TVPA class members share the relevant evidence in

    common because their claims are based on allegations of a single, common scheme.




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           First, a TVPA class member could individually establish causation based on

    circumstantial evidence.9 In CGC Holding, we said a jury could infer that a given class

    member relied on the defendants’ misrepresentations. Id. at 1091-92. The circumstantial

    evidence in CGC Holding included: (1) the plaintiff received a loan commitment

    agreement promising funds and requiring payment of an upfront fee in exchange for

    financing, and (2) the plaintiff in fact paid the fee. Id. at 1082, 1091-92. Here, a class

    member detainee could present the following circumstantial evidence to support an

    analogous inference that the Sanitation Policy caused the detainee to work: (1) the

    detainee received notice of the Sanitation Policy’s terms, including the possible sanctions

    for refusing to clean; and (2) the detainee performed housing unit cleaning work for GEO

    when assigned to do so.

           Second, because the TVPA class allegations are based on a single, common

    scheme, class members share the relevant circumstantial evidence in common, thus

    making class-wide proof possible. In CGC Holding, the lender defendants allegedly

    “engaged in a common scheme to defraud” the borrower plaintiffs. Id. at 1082. Under

    this “cookie-cutter scheme,” potential borrowers received formulaic loan commitment

    agreements that required payment of non-refundable upfront fees before receiving the

    falsely promised financing. Id. Likewise, the TVPA class members allege that GEO

    “coerced [their] labor through a uniform policy subjecting detainees who refused to

           9
             Plaintiffs are generally free to introduce any relevant admissible evidence to
    prove their claims, with no distinction between direct and circumstantial evidence. See
    Fed. R. Evid. 401; see also 1A Fed. Jury Prac. & Instr. § 12:04 (6th ed., Aug. 2017
    update).


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    perform such uncompensated work to discipline, up to and including solitary

    confinement.” App., Vol. I at 29 (emphasis added).

           GEO acknowledges that each class member received notice of the Sanitation

    Policy’s terms upon admission to the Aurora Facility. See App., Vol. II at 480 (Assistant

    Warden Ceja testifying that upon admission to the Aurora Facility, each detainee “signs

    [a document] memorializing that he or she received this policy”). Under these

    circumstances, the Sanitation Policy provides the “glue” that holds together the class

    members’ reasons for performing housing unit cleaning duties assigned by GEO. Wal-

    Mart, 564 U.S. at 352.10 As in CGC Holding, we “see no reason why a putative class


           10
              In Wal-Mart, the Supreme Court held that anecdotal and statistical evidence “are
    insufficient to establish that [the plaintiffs’ gender discrimination] theory can be proved
    on a classwide basis.” 564 U.S. at 356. The Wal-Mart plaintiffs had “held a multitude of
    different jobs, at different levels of Wal–Mart’s hierarchy, for variable lengths of time, in
    3,400 stores, sprinkled across 50 states, with a kaleidoscope of supervisors (male and
    female), subject to a variety of regional policies that all differed.” Wal-Mart, 564 U.S. at
    359-60 (quotations omitted). The Wal-Mart plaintiffs therefore lacked “some glue
    holding the alleged reasons for [their adverse employment decisions] together.” Id. at
    352.
            As the Court later explained in Tyson Foods, Inc. v. Bouaphakeo, the Wal-Mart
    plaintiffs could not have relied on statistical evidence even in individual suits—much less
    a class action—because they “were not similarly situated.” 136 S. Ct. 1036, 1048 (2016).
    In contrast, the employees in Tyson Foods, who “worked in the same facility, did similar
    work, and w[ere] paid under the same policy,” could have introduced statistical evidence
    in a series of individual suits. Id.
            Here, the TVPA class members—unlike the Wal-Mart and Tyson Foods
    plaintiffs—do not rely on statistical evidence. A TVPA class member bringing an
    individual suit against GEO therefore would not need to make a “similarly situated”
    showing to rely on the circumstantial evidence discussed above. And, as CGC Holding
    instructs, because an individual TVPA class member could rely on this evidence and
    because the same evidence applies to all class members, class-wide proof is possible in
    this case. But even assuming that Wal-Mart and Tyson Food’s “similarly situated”
    analysis applies where—as here—the plaintiffs do not rely on statistical evidence, the
    TVPA class members are more like the Tyson Foods plaintiffs: they were detained in the

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    containing plaintiffs, who all [performed housing unit cleaning work under the uniform

    Sanitation Policy], should not be entitled to posit the same inference to a factfinder on a

    classwide basis.” See CGC Holding, 773 F.3d at 1092.

                         3) Hypothetical possibilities do not defeat the class-wide inference

           Based on the foregoing, the Appellees have met their burden to show that the

    causation element would not cause individual questions to predominate. See id. at 1087

    (“The real question is whether plaintiffs have sufficiently met their burden under Rule

    23(b) . . . [to] show that common questions subject to generalized, classwide proof

    predominate over individual questions.”). Specifically, the Appellees have shown that

    the TVPA class could establish causation on a class-wide basis from the available

    circumstantial evidence. In contrast, as the district court noted, “GEO does not allege

    and there is nothing in the record to show that detainees who are not on the daily list still

    choose to perform the additional duties or that detainees work autonomously.” Menocal,

    320 F.R.D. at 265 n.3. GEO offers in rebuttal only speculative assertions regarding the

    class members’ subjective motivations for performing their cleaning duties.11

           GEO’s hypothetical alternative explanations for the class members’ labor do not

    defeat the Appellees’ showing that the causation element is susceptible to class-wide


    same facility, did the same work, and faced the same potential sanctions for refusing to
    work under the same Sanitation Policy.
           11
             GEO posits possible alternative reasons class members may have worked:
    “They may like to have a sanitary environment. They may like to be social while
    working, or participate because of peer pressure. They may willingly obey the facility’s
    policy out of respect for it. Or they may simply wish to stay busy.” Aplt. Br. at 37.


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    proof. The permissibility of a class-wide inference depends on whether the class

    members’ claims are “solvable with a uniform piece of circumstantial evidence” or

    instead “involve significant individualized or idiosyncratic elements.” CGC Holding,

    773 F.3d at 1092. Here, as we explained above, a factfinder could reasonably draw a

    class-wide inference of causation from common evidence pertaining to the uniform

    Sanitation Policy.

           Had GEO “presented evidence that could rebut the Plaintiffs’ common inference

    of [causation] on an individualized basis, we and the district court might have concluded

    that individual issues . . . would predominate at trial.” See Torres v. S.G.E. Mgmt.,

    L.L.C., 838 F.3d 629, 644 (5th Cir. 2016) (en banc), cert. denied, 138 S. Ct. 76 (mem.)

    (2017). But even after three months of discovery regarding class certification issues,

    GEO did not present any individualized rebuttal evidence to the district court that would

    cause individual causation questions to predominate at trial.12 In any event, “the district

    court may revisit its decision and choose to decertify the class should [GEO] eventually

    produce individualized rebuttal evidence.” See Torres, 838 F.3d at 645.

           12
              At oral argument, GEO’s counsel pointed to two pieces of rebuttal evidence.
    Oral Argument at 9:42-10:59. First, counsel cited Assistant Warden Ceja’s deposition
    testimony stating that detainees may “help out” with housing unit cleaning because
    “[s]ometimes people just like to keep busy” and “[i]t makes the time go by faster.” App.,
    Vol. II at 483. Apart from its conjectural nature, this testimony does not raise concerns
    about individual issues predominating because GEO could introduce this same testimony
    against all class members at trial. Second, counsel suggested that the detainee
    declarations filed in this suit rebut causation as to the declarants: “Does that make
    sense—that the same detainees would be volunteering to step up and work a variety of
    jobs in food service and laundry for a dollar a day but yet at the same time say that they
    only performed occasional housekeeping chores as a result [of the Sanitation Policy.]”
    Oral Argument at 10:42-10:59. We see no inconsistency in the declarants’ statements.


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           In CGC Holding, we stated that “causation can be established through an inference

    of reliance where the behavior of plaintiffs and the members of the class cannot be

    explained in any way other than reliance upon the defendant’s conduct.” 773 F.3d at

    1089-90 (emphasis added) (quotations omitted). GEO interprets this language to mean

    that conjectural possibilities alone may preclude an otherwise permissible class-wide

    inference. We disagree. Even on CGC Holding’s facts, it is at least conceivable that a

    class member may have paid advance loan fees even though he or she did not actually

    rely on the defendant’s misrepresentations. For example, a hypothetical class member

    may instead have paid the fees solely because he or she trusted the judgment of a third

    party, who, for whatever reason, maliciously recommended entering into a loan

    agreement with the defendants. We nevertheless allowed a class-wide inference in CGC

    Holding because “the same considerations could lead a reasonable factfinder to conclude

    beyond a preponderance of the evidence that each individual plaintiff relied on the

    defendants’ representations.” See id. at 1090 (quoting Klay v. Humana, Inc., 382 F.3d

    1241, 1259 (11th Cir. 2004)).13 And here, for the reasons already stated above, the same


           13
              In CGC Holding, we also “note[d] that the inference of reliance here is limited
    to transactional situations—almost always financial transactions—where it is sensible to
    assume that rational economic actors would not make a payment unless they assumed
    that they were receiving some form of the promised benefit in return.” 773 F.3d at 1091
    n.9 (emphases added). But we nowhere announced a brightline rule limiting class-wide
    inferences to cases involving an economic transaction amenable to rational choice theory.
    See Torres, 838 F.3d at 642 (emphases added) (explaining that our opinion in CGC
    Holding “says only that the absence of another rational explanation for the plaintiffs’
    behavior is sufficient to infer reliance—it does not say it is a necessary condition”). Our
    case—which involves alleged group coercion rather than individual arm’s length
    transacting—not only allows for a class-wide inference of causation for the reasons stated
    above but arguably supports an even stronger inference.

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    considerations could lead a reasonable factfinder to conclude by a preponderance of the

    evidence that each TVPA class member would not have performed his or her assigned

    cleaning duties without being subject to the Sanitation Policy.

                                                ****
           In assessing the causation element’s susceptibility to class-wide proof, we take no

    position on whether the class would ultimately succeed on such proof at trial. See id. at

    1087 (“For the purposes of class certification, our primary function is . . . not to make a

    determination on the merits of the putative class’s claims.”). Rather, we must affirm the

    district court’s class certification determination if it “falls within the bounds of rationally

    available choices given the facts and law involved in the matter at hand.” See Soseeah,

    808 F.3d at 808 (quotations omitted). Under the circumstances here, the district court

    concluded that a factfinder could—but need not—accept a class-wide inference of

    causation. Menocal, 320 F.R.D. at 267. For the foregoing reasons, we are satisfied that

    the district court did not abuse its discretion.

                  ii. Damages

           The presence of individualized damages issues does not defeat the predominance

    of questions common to the TVPA class. “[T]he fact that damages may have to be

    ascertained on an individual basis is not, standing alone, sufficient to defeat class

    certification.” Wallace B. Roderick Revocable Living Tr. v. XTO Energy, Inc., 725 F.3d

    1213, 1220 (10th Cir. 2013) (quoting McLaughlin v. Am. Tobacco Co., 522 F.3d 215, 231

    (2d Cir. 2008)); see also Newberg § 4:54 & n.2 (stating that “courts in every circuit have




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    uniformly held that the 23(b)(3) predominance requirement is satisfied despite the need to

    make individualized damage determinations” and listing cases).

           Here, the district court reasonably determined that, “considering the numerous

    questions common to the class, . . . the possible need for specific damages determinations

    does not predominate.” Menocal, 320 F.R.D. at 267. The TVPA class’s common

    questions include: (1) whether the Sanitation Policy qualifies as an unlawful means

    under § 1589, (2) scienter, (3) causation, (4) whether a civic duty exception exempts the

    Sanitation Policy from § 1589, and (5) if so, whether it extends to government contractors

    like GEO. As we said in another case, “[t]he district court reasonably concluded that

    these questions drove the litigation and generated common answers that determined

    liability in a single stroke.” In re Urethane Antitrust Litig., 768 F.3d 1245, 1256 (10th

    Cir. 2014) (quotations omitted). Moreover, the district court could “preserve the class

    action model in the face of individualized damages,” XTO Energy, 725 F.3d at 1220, such

    as by limiting the class action to liability issues. The court therefore did not abuse its

    discretion in determining that individual damages would not predominate.

                                               ****
           The district court did not abuse its discretion in certifying the TVPA class based

    on its “rigorous analysis” of the Rule 23 requirements contested here. See CGC Holding,

    773 F.3d at 1086. The court reasonably determined that the class members could show

    causation through class-wide inference and that individual damage assessments would

    not predominate over the class’s common issues. Its findings on commonality, typicality,

    and superiority were likewise reasonable and fell within its discretion.


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                                D. The Unjust Enrichment Class

           We affirm the district court’s certification of the unjust enrichment class. We first

    provide background on unjust enrichment under Colorado law. We then analyze whether

    the district court abused its discretion in applying the Rule 23 requirements to certify the

    unjust enrichment class. As with the TVPA class, “our primary function is to ensure that

    the requirements of Rule 23 are satisfied, not to make a determination on the merits of the

    putative class’s claims.” Id. at 1087.

    1. Unjust Enrichment under Colorado Law

           Unjust enrichment “is an equitable theory of recovery that exists independent of

    any contract.” Melat, Pressman & Higbie, L.L.P. v. Hannon Law Firm, 287 P.3d 842,

    847, 849 (Colo. 2012). Under Colorado common law, “a party claiming unjust

    enrichment must prove that (1) the defendant received a benefit (2) at the plaintiff’s

    expense (3) under circumstances that would make it unjust for the defendant to retain the

    benefit without commensurate compensation.” Lewis v. Lewis, 189 P.3d 1134, 1141

    (Colo. 2008).

           The third element—whether the defendant’s retention of the benefit would be

    unjust—calls for “a fact-intensive inquiry in which courts look to, among other things,

    the intentions, expectations, and behavior of the parties.” Melat, 287 P.3d at 847

    (emphasis added). Whether a plaintiff had a reasonable expectation of payment—while

    potentially relevant to the unjustness inquiry—is not itself an element of unjust

    enrichment under Colorado law. See Ninth Dist. Prod. Credit Ass’n v. Ed Duggan, Inc.,

    821 P.2d 788, 799-800 & n.19 (Colo. 1991). In Ed Duggan, the Colorado Supreme Court


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    explained that the plaintiff’s reasonable expectation of payment is an element of implied-

    in-fact contract claims but not unjust enrichment (or implied-in-law contract) claims.

    Id.14

    2. Application of Rule 23 Requirements

            GEO argues the district court abused its discretion in determining that the unjust

    enrichment class satisfies commonality, typicality, predominance, and superiority. We

    address predominance, the closest issue, last. We conclude that the court did not abuse

    its discretion as to any of these requirements in certifying the unjust enrichment class.

            a. Commonality

            The unjust enrichment class meets Rule 23(a)’s commonality requirement. The

    district court found “the existence of at least a single common question—whether GEO

    received a benefit from VWP participants’ labor.” Menocal, 320 F.R.D. at 269. GEO

    does not dispute—and neither do we—that answering this question would “resolve an

    issue that is central to the validity of each one of the claims in one stroke.” Wal-Mart,

    564 U.S. at 350. And this question alone suffices to establish the commonality

    requirement for the unjust enrichment class. See id. at 359; Stricklin, 594 F.3d at 1195.


            14
              The trial court in Ed Duggan had given an “erroneous[]” unjust enrichment
    instruction by conflating two distinct legal claims: (1) implied-in-fact contract, and (2)
    unjust enrichment (or implied-in-law contract). Ed Duggan, 821 P.2d at 800. A contract
    implied in fact “arises from the parties’ conduct,” which “must evidence a mutual
    intention by the parties to contract with each other.” DCB Constr. Co. v. Cent. City Dev.
    Co., 940 P.2d 958, 961 (Colo. App. 1996), as modified on denial of reh’g (Aug. 29,
    1996), aff’d, 965 P.2d 115 (Colo. 1998). In contrast, a contract implied in law—or unjust
    enrichment—arises “not from consent of the parties, . . . but from the law of natural
    immutable justice and equity.” Id. at 962 (quotations omitted).


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    The district court therefore did not abuse its discretion in applying the Rule 23(a)

    commonality requirement to the unjust enrichment class.

           b. Typicality

           The unjust enrichment class satisfies Rule 23(a)’s typicality requirement.

    Typicality requires only that “the claims of the class representative and class members

    are based on the same legal or remedial theory.” Colo.Cross-Disability, 765 F.3d at 1216

    (quotations omitted). Here, the claims of all the class members—including the

    representatives—share the same theory: that GEO unjustly retained a benefit from class

    members’ labor under the VWP. The class representatives allege that they—just like all

    detainees participating in the Aurora Facility’s VWP in the relevant period—“were

    uniformly paid $1 [per] day of work” and that GEO “was thereby unjustly enriched” by

    their work. App., Vol. I at 31. And the class representatives’ declarations present no

    circumstances that would give rise to a different theory of liability.15 The district court

    therefore did not abuse its discretion in applying the Rule 23(a) typicality requirement to

    the unjust enrichment class.

           c. Superiority

           The unjust enrichment class, a subset of the TVPA class, meets Rule 23(b)(3)’s

    superiority requirement for the same reasons the TVPA class does. The district court

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              The only factual differences among the class representatives’ experiences
    pertain to the nature of their jobs and the hours they worked. But these factual
    differences do not defeat typicality because the class members’ legal theory—that GEO
    unjustly retained a benefit from their labor under the VWP—does not change based on
    the nature of their jobs or their hours worked. See Colo. Cross-Disability, 765 F.3d at
    1216.


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    noted that “[a]s stated above, many of the putative class members are immigrant

    detainees who lack English proficiency[,] . . . have limited financial resources and reside

    in countries around the world.” Menocal, 320 F.R.D. at 270. It also was “not aware of

    any other suit asserting the claims brought in this case and no other class member has

    demonstrated an interest in controlling the litigation.” Id. Based on these considerations,

    the court did not abuse its discretion in applying the Rule 23(b)(3) superiority

    requirement to the unjust enrichment class. See Newberg § 4:65; see also Amchem, 521

    U.S. at 617.16

           d. Predominance

           Although Rule 23(b)(3)’s predominance requirement “regularly presents the

    greatest obstacle to class certification,” CGC Holding, 773 F.3d at 1087, it does not

    defeat the unjust enrichment class. GEO contends that two of the unjust enrichment

    class’s issues are not susceptible to generalized proof: (i) the unjustness element, and (ii)

    damages. But as we show below, (i) the unjustness element is susceptible to generalized

    proof, and (ii) individual damages assessments would not predominate over the class’s

    common issues.




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              GEO’s suggestion that class members should “challenge ICE’s underlying
    policy authorizing the $1 per day practice as violating some federal law or constitutional
    right,” Aplt. Br. at 54, again ignores the nature of the controversy at hand.
    Notwithstanding GEO’s attempts to divine “the Plaintiffs’ real complaint,” id., the
    alternatives proposed by GEO would not address the class members’ claims for monetary
    relief and thus are not “superior . . . available methods for fairly and efficiently
    adjudicating the controversy.” See Fed. R. Civ. P. 23(b)(3).


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                 i. The unjustness element

          The unjustness element is susceptible to generalized proof and thus cannot defeat

    class certification under Rule 23(b)(3)’s predominance requirement. This analysis

    proceeds in two parts. First, unjustness presents a common question here because the

    class members seek to establish this element through shared circumstances susceptible to

    class-wide proof. See CGC Holding, 773 F.3d at 1087 (explaining that we consider “how

    the class intends to answer factual and legal questions to prove its claim—and the extent

    to which the evidence needed to do so is common or individual”). Second, GEO’s sole

    argument to the contrary—that the common evidence cannot establish a reasonable

    expectation of payment on the part of the class members—fails because Colorado law

    does not require such a showing as an element of unjust enrichment.

                        1) The class members’ unjustness showings rely on common
                           circumstances

          Although the unjustness element requires “a fact-intensive inquiry,” Melat, 287

    P.3d at 847, the unjust enrichment class members intend to rely on facts that are shared

    amongst the class and thus are susceptible to class-wide proof. The class members

    “claim that GEO’s retention of the benefit is unjust because GEO utilized a policy [of]

    paying extremely low wages to workers who were all detained, uniquely vulnerable as

    immigrants, and subject to GEO’s physical control.” Aplee. Br. at 48. They seek to

    establish the unjust nature of GEO’s benefit based on “evidence of a common course of

    conduct by GEO—the uniform VWP and the uniform payments.” Id. at 51. Because the

    class members’ theory of unjustness depends on shared rather than individualized



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    circumstances, the unjustness question is common to the class and does not defeat

    predominance. See Tyson Foods, 136 S. Ct. at 1045 (“[A] common question is one

    where the same evidence will suffice for each member to make a prima facie showing or

    the issue is susceptible to generalized, class-wide proof.” (brackets and quotations

    omitted)).

                         2) The class members need not show a reasonable expectation of
                            payment under Colorado law

           GEO’s only argument as to why class members would need to rely on

    individualized circumstances to show unjustness is that Colorado law requires plaintiffs

    to show a reasonable expectation of payment beyond $1 per day, which the common

    evidence here does not support. This argument fails because, as discussed above, the

    Colorado Supreme Court has made clear that a reasonable expectation of payment is not a

    required element of unjust enrichment under Colorado law. See Ed Duggan, 821 P.2d at

    799-800 & n.19.17

           In light of Ed Duggan, GEO’s citation to an earlier, contrary decision by the

    Colorado Court of Appeals, Aplt. Br. at 46, 51, is not persuasive. See Britvar v.


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              We address GEO’s “reasonable expectation” argument—even though it overlaps
    with the merits of the underlying unjust enrichment claims— “only to the extent . . . [it is]
    relevant to determining whether the Rule 23 prerequisites for class certification are
    satisfied.” Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 466 (2013). As
    we noted above, Rule 23(b)(3) predominance depends on “how the class intends to
    answer factual and legal questions to prove its claim—and the extent to which the
    evidence needed to do so is common or individual.” CGC Holding, 773 F.3d at 1087.
    Answering the predominance question thus requires an understanding of the elements of
    the class’s underlying claim (in this case, whether unjust enrichment has a “reasonable
    expectation” element under Colorado law). See id. at 1088.


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    Schainuck, 791 P.2d 1183, 1184 (Colo. App. 1989) (“A plaintiff cannot recover for unjust

    enrichment . . . for services rendered absent proof of circumstances indicating that

    compensation is reasonably expected.”). Moreover, post-Ed Duggan Colorado Supreme

    Court cases involving unjust enrichment claims have not required plaintiffs to show a

    reasonable expectation of payment by the defendant. See, e.g., City of Arvada ex rel.

    Arvada Police Dep’t v. Denver Health & Hosp. Auth., 403 P.3d 609, 616-17 (Colo. 2017)

    (concluding that a public hospital could seek recovery against a municipality under unjust

    enrichment theory where it, “by virtue of its statutory obligation, performed a service

    [providing medical treatment to a municipal arrestee] normally covered under contract,”

    even though the municipality “never promised to pay for that service, and has in fact

    refused to pay, but . . . may have received a benefit”).

                                               ****
           In deciding the narrow question of whether the unjustness element is susceptible to

    class-wide proof, we take no position on whether the class would ultimately succeed on

    such proof at trial. See CGC Holding, 773 F.3d at 1087 (“For the purposes of class

    certification, our primary function is . . . not to make a determination on the merits of the

    putative class’s claims.”). Rather, we must affirm the district court’s determination if it

    “falls within the bounds of rationally available choices given the facts and law involved

    in the matter at hand.” See Soseeah, 808 F.3d at 808 (quotations omitted). Under the

    circumstances here, the district court determined that the class members could establish

    the unjustness of GEO’s benefit based not on individualized transactions but on the

    “overall context” and “uniform policies” shared by all class members. Menocal, 320


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    F.R.D. at 269. For the foregoing reasons, we are satisfied that the district court did not

    abuse its discretion.

                  ii. Damages

           As with the TVPA class, the presence of individualized damages issues does not

    defeat the predominance of questions common to the unjust enrichment class. “[T]he fact

    that damages may have to be ascertained on an individual basis is not, standing alone,

    sufficient to defeat class certification.” XTO Energy, 725 F.3d at 1220 (quoting

    McLaughlin, 522 F.3d at 231); see also Newberg § 4:54 & n.2 (stating that “courts in

    every circuit have uniformly held that the 23(b)(3) predominance requirement is satisfied

    despite the need to make individualized damage determinations” and listing cases).

           Here, the district court reasonably found that “individual damages in this case

    should be easily calculable using a simple formula” based on number of hours worked,

    type of work performed, and fair market value of such work. Menocal, 320 F.R.D. at

    270. It further stated that if damages proved to be less straightforward, “decertification or

    amendment of the class for damages determinations may be appropriate at a later

    juncture.” Id. The court therefore did not abuse its discretion in determining that

    individual damages would not predominate over the liability issues common to the

    class—including (1) whether GEO received a benefit from the class members’ VWP

    labor, and (2) whether it retained such a benefit unjustly. See XTO Energy, 725 F.3d at

    1220 (“[T]he district court is in the best position to evaluate the practical difficulties

    which inhere in the class action format, and is especially suited to tailor the proceedings

    accordingly.”).


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           The district court did not abuse its discretion in certifying the unjust enrichment

    class based on its “rigorous analysis” of the Rule 23 requirements contested here. See

    CGC Holding, 773 F.3d at 1086. The court reasonably determined that the class

    members shared the circumstances relevant to the unjustness question and that individual

    damage assessments would not predominate over the class’s common issues. Its findings

    on commonality, typicality, and superiority were likewise reasonable and fell within its

    discretion.

                                       III. CONCLUSION

           We affirm the district court’s certification of both classes. We grant the

    outstanding motions for leave to file amicus briefs.




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